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     WhatsApp Inc. and Facebook, Inc.
13
                                UNITED STATES DISTRICT COURT
14
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                        OAKLAND DIVISION
16

17    WHATSAPP INC., a Delaware corporation,      Case No. 4:19-cv-07123-PJH
      and FACEBOOK, INC., a Delaware    )
18    corporation,                      )
                                        )         DECLARATION OF ANTONIO J.
19                    Plaintiffs,       )         PEREZ-MARQUES IN SUPPORT OF
                                        )         PLAINTIFFS’ MOTION TO COMPEL
20           v.                         )         DISCOVERY
                                        )
21    NSO GROUP TECHNOLOGIES LIMITED )            DISCOVERY MATTER
      and Q CYBER TECHNOLOGIES LIMITED, )
22                                      )          Date:    September 9, 2020
                      Defendants.       )          Time:    9:00 a.m.
23                                      )          Ctrm:    3
                                        )
                                        )          Judge:   Hon. Phyllis J. Hamilton
24
                                        )
25                                      )
                                        )          Action Filed: October 29, 2019
26                                      )
                                        )
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 1          I, Antonio J. Perez-Marques, declare as follows:

 2          1.      I am an attorney duly licensed to practice law in the State of New York, and a partner

 3   with the law firm of Davis Polk & Wardwell LLP, counsel to Plaintiffs WhatsApp Inc. and Facebook,

 4   Inc. (“Plaintiffs”), in the above-captioned matter. I am admitted pro hac vice in the above-captioned

 5   matter. I have personal knowledge of the facts set forth below and, if called as a witness in a court

 6   of law, could and would testify competently thereto.

 7          2.      I submit this declaration in support of Plaintiffs’ Motion to Compel Discovery

 8   (“Motion”) filed concurrently herewith.

 9          3.      In accordance with Rule 37(a)(1) of the Federal Rules of Civil Procedure, I hereby

10   certify that Plaintiffs’ counsel met and conferred in good faith with counsel for Defendants NSO

11   Group Technologies Limited and Q Cyber Technologies Limited (“NSO”) regarding the discovery

12   disputes described in the Motion, in an effort to obtain the relief requested in the Motion without

13   Court action. During multiple discussions, NSO refused to withdraw its objections that it should not

14   have to produce documents until, among other things, any appeal of its immunity defenses was

15   adjudicated and that discovery should be limited to the use of one particular brand of spyware

16   (Pegasus) against one particular set of targeted users. Counsel have also exchanged multiple emails,

17   letters, and cases concerning their positions on the merits of the discovery disputes described in the

18   Motion. See, e.g., Exs. C, D, E, F.

19          4.      Attached hereto as Exhibit A is a true and correct copy of Plaintiffs’ First Requests

20   for Production, dated June 2, 2020.

21          5.      Attached hereto as Exhibit B is a true and correct copy of NSO’s Responses and

22   Objections to Plaintiffs’ First Requests for Production, dated July 6, 2020. In compliance with Local

23   Rule 37-2, attached hereto as Exhibit B-1 is a copy of all of NSO’s Responses and Objections to

24   Plaintiffs’ First Requests for Production that relate to the dispute discussed in Section I of the Motion,

25   and attached hereto as Exhibit B-2 is a copy of all of NSO’s Responses and Objections to Plaintiffs’

26   First Requests for Production that relate to the dispute discussed in Section II of the Motion.

27          6.      On July 9, 2020, I sent a letter to NSO’s counsel to follow up on a prior meet-and-

28   confer discussion on June 30, 2020 and to address NSO’s Responses and Objections to Plaintiffs’
                                                       1
     DECLARATION OF ANTONIO J. PEREZ-MARQUES IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
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 1   First Requests for Production. In the letter, I identified the two issues described in the Motion—

 2   NSO’s improper objection to the scope of the requests, and NSO’s refusal to produce any documents

 3   until its immunity defenses were fully resolved—as threshold disputes that could require court

 4   intervention unless the relevant objections were withdrawn. I also noted that NSO’s threshold

 5   objections lacked any legal basis and, “unless promptly withdrawn, would make further negotiations

 6   at this time futile and require Court intervention.” Attached hereto as Exhibit C is a true and correct

 7   copy of my letter to NSO’s counsel dated July 9, 2020.

 8             7.    On July 13, 2020, I received a letter from NSO’s counsel in response to my letter

 9   dated July 9, 2020. Attached hereto as Exhibit D is a true and correct copy of NSO’s counsel’s letter

10   to me dated July 13, 2020.

11             8.    On July 14, 2020, I responded to NSO’s counsel’s July 13th letter, confirming

12   Plaintiffs’ willingness to meet-and-confer, further substantiating Plaintiffs’ views as the appropriate

13   scope of discovery, and proposing dates certain for a further meet-and-confer. Attached hereto as

14   Exhibit E is a true and correct copy of my letter to NSO’s counsel dated July 14, 2020.

15             9.    After NSO failed to provide a date or time certain for the meet-and-confer, and despite

16   numerous attempts by Plaintiffs to schedule such discussions, I sent a letter to NSO’s counsel on July

17   19, 2020 to request, among other things, that NSO’s counsel identify a time when they were available

18   to meet-and-confer regarding the issues raised in my prior letters. Attached hereto as Exhibit F is a

19   true and correct copy of my letter to NSO’s counsel dated July 19, 2020.

20             10.   On July 21, 2020, I spoke with NSO’s counsel. NSO’s counsel refused to withdraw

21   its objection to the scope of discovery and acknowledged that the issue would require Court

22   resolution.

23             11.   On July 31, 2020, I again spoke with NSO’s counsel. During that discussion, NSO’s

24   counsel indicated its intention to request that the Court enter an interim protective order so that,

25   among other things, it could proceed with producing documents from certain third-party clients.

26   NSO’s counsel also outlined its position as to why discovery of NSO should be stayed pending its

27   appeal.

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 1          12.     On August 3, 2020, I spoke with NSO’s counsel again on this topic. During that

 2   discussion, I indicated that based on our discussions and correspondence it was clear that the Parties

 3   had had a different view of the applicable law. NSO’s counsel did not disagree, and the Parties turned

 4   to a discussion of how the issue would be presented to the Court.

 5          13.     On August 4, 2020, Plaintiffs served their initial disclosures on NSO.

 6   I declare under the penalty of perjury that the foregoing is true and correct.

 7   Executed this 5th day of August 2020 in East Hampton, New York.

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 9                                              By: /s/ Antonio J. Perez-Marques
                                                    Antonio J. Perez-Marques
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     DECLARATION OF ANTONIO J. PEREZ-MARQUES IN SUPPORT OF PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
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